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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                          ___________________________________

UNITED STATES OF AMERICA                        §

V.                                              §        CRIMINAL NO. 3:18-CR-00356-S

JOHN O. GREEN (3)                               §

           LIMITED ENTRY OF APPEARANCE AS COUNSEL OF RECORD

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       I hereby enter my limited appearance as counsel for the above-named Defendant in this

cause for purposes of the Rule 5 initial appearance. I am not making an entry of appearance in this

case for any other purpose at this time.

       I understand that it is my duty to continue to represent the Defendant in connection with

the above-listed proceedings therein in this Court.

                                                      Respectfully submitted,

                                                      BURLESON, PATE & GIBSON, L.L.P.

                                                      /s/ Michael P. Gibson
                                                      ________________________________
                                                      MICHAEL P. GIBSON
                                                      TEXAS BAR CARD NO. 07871500

                                                      900 Jackson Street, Suite 330
                                                      Dallas, Texas 75202
                                                      Telephone: (214) 871-4900
                                                      Facsimile: (214) 871-7543
                                                      Email: mgibson@bp-g.com

                                                      COUNSEL FOR DEFENDANT
                                                      JOHN O. GREEN




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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing motion was delivered by
electronic filing to Robert Kemins, the Assistant United States Attorney in charge of this case,
1100 Commerce Street, 3rd Floor, Dallas, TX 75242, on this the 2nd day of August, 2018.

                                                    /s/ Michael P. Gibson
                                                    ________________________________
                                                    MICHAEL P. GIBSON




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